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                                                                  u.s. DISTRICT   209
                                                                                COURT
                                                              .(iRTHERN DISTRICTOFTEXAS
                                                                       FILED
                   IN THE UNITED STATES DISTRICTCOURTE~
                        NORTHERN DISTRICT OF TEXAS • • 8 2010
                            FORT WORTH DIVISION  I

 THOMAS DICKSON, Individually          §
                                                         !i    CLERK, V.S. DISTRiCT COURT

 and on behalf of himself and          §
 all others similarly situated,        §
                                       §
             Plaintiff,                §
                                       §
 VS.                                   §    NO. 4:09-CV-750-A
                                       §
 AMERICAN AIRLINES, INC.,              §
 and Does 11111 through 1120 11        §
 inclusive,                            §
                                       §
             Defendants.               §


                             MEMORANDUM OPINION
                                     and
                                    ORDER

       After having considered the motion of defendant, American

 Airlines, Inc., to dismiss Plaintiff's Original Class Action

 Complaint, the court has concluded that the motion should be

 granted.

                                       I.

                            Nature of the Action

       The above-captioned action was initiated by the filing by

 plaintiff, Thomas Dickson, of his "Plaintiff's Original Class

 Action Complaint ll on December 17, 2009.            It is a putative class

 action brought by plaintiff, individually and on behalf of:

       2,000 to 33,000 airline passengers in international air
       carriage who were delayed over 3 hours on or about
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      December 29th, 2006, some of whom, including the
                                                         •
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      plaintiff, who were confined to AA aircraft on the
      ground for extended periods of time and affected by
      related actions of AA .

Compl. at 3, ~ 4.01(a).         Plaintiff alleged that the action was

 filed under the Convention for the Unification of Certain Rules

 for International Carriage by Air (IIMontreal Convention ll ) , which

provides for compensation to consumers in international air

carriage by air for delay of passengers or their baggage or cargo

as well as personal injury and death.             Id. at 1, ~ 1.01.

      According to plaintiff, he, his wife, and his child suffered

 inconveniences and damages at the hands of defendant when they

were passengers on an airplane operated by defendant in late

December 2006 as part of their trip from San Francisco to the

country of Belize when, due to weather conditions, their flight

was diverted from Dallas/Fort Worth International Airport to

Austin, Texas.         Because of the adverse weather conditions,

plaintiff and the members of his family were confined in the

aircraft for over eight hours.           Plaintiff alleged, on information

and belief, that:

      [O]ver 2,000 passengers in international air carriage
      involving up to 120 or more flights on December 29,
      2006 were confined to AA aircraft for extended periods
      of time in excess of 3 hours in poor to deplorable
      conditions in route to or from DFW, and up to 33,000
      passengers in international air carriage scheduled into

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          or out of DFW on December 29, 2006, on up to 1,100 AA
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          flights were delayed to their final destinations in
          excess of 3 hours.

Id. at 4,      ~   5.02.

          All of plaintiff's individual and class action claims are

alleged violations of the Montreal Convention, id. at 9-12, ~~

6.01-6.15.         Plaintiff seeks individual damages of at least

$100,000 and "such higher or lower amount as may be allowed by

 [the] court for each other class member similarly situated, in

excess of $5,000,000 for the proposed class in damages, plus

      . court costs, litigation expenses including attorney fees,

and interest."         Id. at 12,   ~    6.12.

          Plaintiff requested that he be appointed as named

representative of a class of all passengers similarly situated,

and informed the court that he will "seek an incentive amount for

such representational duties as the court may determine."                     Id. at

12,   ~    6.13.

          In recognition that he was faced with a defense based on a

two-year period of repose contained in the Montreal Convention,

plaintiff alleged that "limitations was tolled by other class

action filings,        including Harper v. American Airlines, Civil

Action No. 4:09-CV-318-Y, which began in December 2008, and for

which class certification was denied on procedural grounds,

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 subject to appeal, by order dated December 16, 2009."
                                                       •
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                                                                     Id. at 9,

 ~ 5.23.


                                      II.

                Grounds of Defendant's Motion to Dismiss
                                  and
                   Plaintiff's Response to the Motion

A.     Grounds of the Motion

       On January 11, 2010, defendant filed its motion to dismiss,

 stating as grounds for dismissal that:

       (1) the Montreal Convention's two-year statute of
       repose has extinguished any claim Plaintiff Thomas
       Dickson may have under that Convention; (2) expiration
       of that statute of repose creates a jurisdictional bar
       to the adjudication of Dickson's claim; (3) as a matter
       of law, no principle of "tolling" saves Dickson's
       action from the two-year statute of repose; (4) Dickson
       may not bring a "piggyback" proposed class action on a
       prior failed class action, as the Complaint seeks to
       do; and (5) Dickson's claims for "inconvenience,
       emotional and physical distress and injury, deprivation
       of liberty" and other consequential damages including
       loss of vacation or work time and loss of enjoyment of
       life, and attorneys' fees fail to state a claim upon
       which relief can be granted because the Montreal
       Convention does not allow recovery for such alleged
       damages.

 Mot. to Dismiss at 1-2.

 B.    Plaintiff's Response to the Motion

       Plaintiff took the following positions in his response:

       1.    He maintained that the Montreal Convention's two-year

 period of repose does not bar this action because the period of

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repose was tolled from December 29, 2008, through December 16,
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2009.        According to plaintiff, the confinement of he and his

family on defendant's airplane began on December 29, 2006, and

ended on December 30, 2006, which would be the beginning date of

the two-year period of repose.          Plaintiff argued that the period

of repose was tolled from December 29, 2008, the date on which

the Harper putative class action was filed, until December 16,

2009, when, he contends, class certification and his motion to

intervene as a class representative were denied in Harper, thus,

when the tolling is considered, making the filing of his

complaint in the instant action on December 17, 2009, within the

two-year period of repose.

        2.     As to defendant's argument that there can be no tolling

of the Montreal Convention's two-year period of repose, plaintiff

contended that defendant's position is contrary to Supreme Court

precedent, inconsistent with United States judicial policy, and

is not required by international law or as an intended result of

the Montreal Convention.

        3.      Plaintiff contended that he does not seek to maintain a

"piggyback" class action "but only to protect his own rights and

the rights of those of others entitled to delay compensation



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 under the [Montreal Convention] who were delayed in the same mass
                                                                      PageID 214




 delay and stranding incident."         Resp. at 10.

       4.    Finally, plaintiff argued that defendant1s contentions

 that plaintiff1s complaint seeks recovery of damages and other

 relief not contemplated by the Montreal Convention are without

merit.

                                       III.

                                     Analysis

A.     The Montreal Convention and Its Two-Year Repose
       Provision

       The court refers the reader to Bassam v. American Airlines,

 Inc., 287 F. App1x 309, 312 (5th Cir. 2008)            (unpub.), for a

 summary of the history of the Montreal Convention, which provides

 the exclusive remedies of international passengers against their

 air carriers.     Under the heading "Basis of Claims," the

 Convention states:

      In the carriage of passengers, baggage and cargo, any
      action for damages, however founded, whether under this
      Convention or in contract or in tort or otherwise, can
      only be brought subject to the conditions and such
      limits of liability as are set out in this Convention
      without prejudice to the question as to who are the
      persons who have the right to bring suit and what are
      their respective rights. In any such action, punitive,




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      exemplary or any other non-compensatory damages shall
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      not be recoverable.

Resp., App. at 56, art. 29 (emphasis added).              And, one of the

Convention's conditions appears under the heading "Limitation of

Actions" as follows:

      1. The right to damages shall be extinguished if an
      action is not brought within a period of two years,
      reckoned from the date of arrival at the destination,
      or from the date on which the aircraft ought to have
      arrived, or from the date on which the carriage
      stopped.

      2. The method of calculating that period shall be
      determined by the law of the court seised of the case.

 Id. at 58, art. 35.

B.    The Repose and Tolling Disputes

       Inasmuch as this action was not instituted until the lapse

of almost three years after commencement of the Montreal

Conventionis two-year period of repose, if any part of the action

 is to survive the bar of repose, plaintiff must succeed on the

 tolling theory he alleges in paragraph 5.23 of his complaint,

 i.e., that "limitations was tolled by other class action filings,

 including Harper v. American Airlines."              Compl. at 9, ~ 5.23.

Three putative class actions previously have been filed against

American, apparently by the same attorney who filed the instant

action, in which claims were made based on inconveniences and


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 damages suffered by reason of the late December 2006 weather
                                                                     PageID 216




 conditions.

       Defendant maintains that the class action tolling principles

 established by the Supreme Court in American Pipe & Construction

 Co. v. Utah, 414 U.S. 538, 561 (1974), Crown, Cork & Seal Co.,

 Inc. v. Parker, 462 U.S. 345, 353-54         (1983), and Chardon v.

 Fumero Soto, 462 U.S. 650 (1983), do not apply to this case and

 that, therefore/ plaintiff's claims were barred no later than two

 years after the date in late December 2006 when plaintiff's

 carriage on defendant's airplane stopped.            Defendant's argument

 against tolling is predicated on case authority that the repose

 language in question created a condition precedent to the

 bringing by a plaintiff of a damage action under the Convention,

 with the consequence that the tolling concept discussed in the

 Supreme Court opinions in the context .of statutes of limitations

 simply does not apply.      Defendant cites as authority for its

 position rulings in Husmann v. Trans World Airlines, Inc., 169

 F.3d 1151, 1154 (8th Cir. 1999) i Fishman v. Delta Air Lines,

 Inc., 132 F.3d 138, 143-44 (2d Cir. 1998) i McCaskey v.

 Continental Airlines, Inc., 159 F. Supp. 2d 562, 580-81 (S.D,

 Tex. 2001) i Sanchez Morrabal v. Omni Air Services Co., 497 F.




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Supp. 2d 280, 285 (D.P.R. 2007) i Magnus Electronics, Inc. v.

Royal Bank of Canada, 611 F. Supp. 436, 443               (N.D. Ill. 1985).

      The court concludes that defendant's arguments and

authorities support its position that class action tolling is not

applicable to the Montreal Convention two-year repose provision.

The language of the Convention could not make any plainer that

one of the conditions for the existence of an action under the

Convention for damages is that it be brought within a period of

two years.       Supra at 6-7.       The bringing of the action within two

years was, by the express language of the Convention, a condition

precedent--"any action for damages                  . can only be brought

subject to the conditions .             . as are set forth in this

Convention. II     Id.   This language leaves no room for the

application of a tolling theory, class action or otherwise,

designed to overcome the two-year condition precedent.

      The time element expressed in the Convention is not a

 limitation provision but is a part of the definition of the right

 to recover damages based on the provisions of the Convention.

See Beach v. Ocwen Fed. Bank, 523 U.S. 410, 415-17 (1998) i Mid-

State Horticultural Co. v. Pa. R.R. Co., 320 U.S. 356, 363-64

 (1943)   (saying that     II   [t]he cause of action, the very foundation




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   for relief, is extinguished ll and "the lapse of time

  destroys the liability, II at 364                   (internal quotation marks

  omitted ll ) ) i Burlington N. v. Poole Chern. Co., Inc., 419 F.3d 355,

  362-64 (5th Cir. 2005)i Archer v. Nissan Motor Acceptance Corp.,

   550 F.3d 506, 508           (5th Cir. 1998).

          Even if the court were incorrect in concluding that there

  cannot be class action tolling as to a Montreal Convention claim,

   the claims asserted by plaintiff in the instant action

  nevertheless would be barred.                    In no event could plaintiff gain

  the benefit of class action tolling from the first two of the

  previously filed class actions because plaintiff would not have

  been a putative class member in either of them.

          The first of the previously filed class actions, styled

   "Kathleen Hanni, Individually and on Behalf of All Others

  Similarly Situated, Plaintiff, v. American Airlines, Inc.,

  Defendant, II which was filed December 28, 2007, is now pending in

   the United States District Court for the Northern District of

  California, Oakland Division, as Case No. 4:08-CV-732-CW. 1                                    The

   second, styled IICatherine Ray, on Behalf of Herself and All



          IHanni was filed December 28,2007, in the Superior Court of the State of California in and for
  the County of Napa and was removed to the United States District Court for the Northern District of
  California, San Francisco Division, on January 31, 2008. Case No. 4:08-CV -732-CW, Docket Entry 1.
  It now pends in the Oakland Division.

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 Others Similarly Situated, Plaintiff, v. American Airlines,

 Inc., II which was filed on December 27, 2007, now pends in the

 United States District Court for the Western District of

 Arkansas, Fayetteville Division, as Case No. 5:08-CV-5025-RTD. 2

 Neither Hanni nor Ray involved claims based on the Montreal

 Convention.         The putative class (classes) in Hanni expressly

 excluded passengers in international air carriage, whose claims

 would be governed by the Montreal Convention, by defining the

 class (classes) as being "domestic travelers who traveled on an

 American Airlines flight scheduled to land at Dallas/Fort Worth

 International Airport on December 29, 2006 that was diverteq to

 another airport .                   "     Case No. 4:08-CV-732-CW, Docket Entry

 311 at 1-2.         The complaint by which Ray was instituted describes

 the plaintiff as a domestic traveler.                        Case No. 5:08-CV-5025-RTD,

 Docket Entry 1, 2d p.,              ~    6.   By not mentioning the Montreal

 Convention, the claims made in Ray imply that they were limited

 to domestic travelers.                  Moreover/ the claims were not of a kind

 that would be asserted on behalf of international travelers/ such




         2RaX was filed December 27,2007, inthe Circuit Court of Washington County, Arkansas, and
 was removed to the United States District Court for the Western District of Arkansas, Fayetteville
 Division, on January 31, 2008. Case No. 5:08-CV-5025-RTD, Docket Entry 1.

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 as those making up the putative class presented in the instant
                                                                        •
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 action.       Id., Docket Entry 111 at 4-15. 3

         Notwithstanding plaintiff's broad allegation in the

 complaint that "limitations was tolled by other class action

 filings," Compl. at 9, section 5.23, plaintiff does not contend

 in his response to defendant's motion to dismiss that he gained

 any tolling benefit from Hanni or Ray.                         Rather, he pitches his

 entire tolling argument on the filing and pendency of the third

 previously filed class action, Harper v. American Airlines.

         Harper was filed December 29, 200S, in the United States

 District Court for the Northern District of Alabama, Huntsville

 Division, under the style "James D. Harper, Jr., Individually and

 on Behalf of Himself and All Others Similarly Situated,

 Plaintiff, v. American                Airlines, Inc., and Does "1" through "20"

 Inclusive, Defendant."                Case No. 4:09-CV-31S-Y, Docket Entry 1.

 All claims asserted in Harper were based on the Montreal

 Convention.         Harper alleged that he, his wife, and three children

 were on defendant's airplane when the bad weather hit on December

 29, 2006, pursuant to tickets they purchased for air



         3By an April 2, 2009, memorandum opinion, the motion for class certification in Ray was denied,
 and defendant's motion for summary judgment was granted, dismissing the case with prejudice, Case No.
 5:08-CV-5025-RTD, Docket Entry 111; and, on that same date a judgment dismissing the Ray case with
 prejudice was entered, id., Docket Entry 112.

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 transportation from Cancun r Mexico r to Huntsville r Alabama r by
                                                                        PageID 221




 way of Dallas/Fort Worth International Airport.               The putative

 class in Harper consisted of 11600 to 2 r 400 airline passengers in

 international carriage by air confined on aircraft by Defendants

 for 3 to 11 hours on December 29 th r 2006 r and who were otherwise

 affected by related actions of the Defendants as set forth [in

 other parts of the complaint.] II         Id. at 2d p.r ~ 5.a.         Harper was

 transferred to the Northern District of Texas r Dallas Division r

 on May 29 r 2009 r and then to the Fort Worth Division r where it

 was placed on the docket of Judge Terry R. Means as Case No.

 4:09-CV-318-Y.        For the reasons given belowr the court concludes

 that plaintiff could find no comfort in Harper even if he were to

 be given the benefit of a class action tolling.

       Rule 23(c) (1) (A) of the Federal Rules of Civil Procedure

 directs that    II   [a]t an early practicable time after a person sues

        as a class representative r the court must determine by

 order whether to certify the action as a class action. II                To

 facilitate compliance with this ruler a local rule of this court

 directs that" [w]ithin 90 days of filing of a class action

 complaint r or at such other time as the presiding judge by order

 directs r an attorney for the plaintiff must move for

 certification. II      Local Civil Rules of the u~ited States Dist. Ct.

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 for the N.D. Tex. LR 23.2.
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                                                The ninety-day deadline commenced no
                                                                                                PageID 222




 later than when Harper was transferred from Alabama to this court

 on May 29, 2009.              Therefore, the deadline for the filing of a

 motion for class certification was no later than August 27, 2009.

 The Harper plaintiff did not move for class certification during

 the allotted ninety-day period, nor did the Harper court order a

 filing time different from the ninety-day time limit prescribed

 by the local rule. 4               As a result, after August 27, 2009, Harper

 no longer was a putative class action.                              See Aguilera v. Pirelli

 Armstrong Fire Corp., 223 F.3d 1010, 1019 (9th Cir. 2000)

  (stating that "whatever tolling applied, it ceased once the

 deadline for seeking class certification passed .                                           . ,,) .

         If Harper ever provided plaintiff the benefit of a tolling

 of the two-year period of repose, the tolling, at most, operated

 from December 29, 2008, until August 27, 2009, while Harper was a

 putative class action.                  See Aguilera, 223 F.3d at 1019; Javier H.

 v. Garcia-Botello, 239 F.R.D. 342, 349 (W.D.N.Y. 2006); Lee v.



          4The Harper plaintiff filed a motion for class certification on October 28,2009. Case No. 4:09-
 CV -318-Y, Docket Entry 51. On that same date, the Harper plaintiff filed a motion to declare his motion
 for class certification timely or, in the alternative, for an extension of time for the filing of a motion for
 class certification. Id., Docket Entry 53. On November 2,2009, defendant filed in Harper an opposition
 to the Harper plaintiffs motion and a cross-motion to strike the motion for class certification. Id., Docket
 Entry 57. By order signed December 16,2009, the Harper court denied the motion to declare the motion
 to certifY timely or for an extension, and granted the defendant's cross-motion to strike. Id., Docket Entry
 69 (Mot. to Dismiss, App. at 5-13).

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 Dell Prods., L.P., 236 F.R.D. 358, 362 (M.D. Tenn. 2006).
                                                                        PageID 223


                                                                           Thus,

 even given the benefit of such a tolling, plaintiff's "right to

 damages [was] extinguished" by reason of his failure to brin9 his

 action "within a period of two years .               . from the date on which

 the carriage stopped."      Resp. App. at 58, art. 35.

       Moreover, the court agrees with the other alternative ground

 of defendant's motion that the putative class action in question

 cannot be "piggybacked" on the Harper class action.                As the Fifth

 Circuit explained in Salazar-Calderon v. Presidio Valley Farmers

 Ass'n, 765 F.2d 1334, 1351 (1985), putative class members are not

 permitted to piggyback one class action onto another and thus

 toll the statute of limitations indefinitely.              See also Basch v.

 Ground Round, Inc., 139 F.3d 6, 11-12 (1st Cir. 1998) i Griffin v.

 Singletary, 17 F.3d 356, 359-60 (11th Cir. 1994) i Andrews v. Orr,

 851 F.2d 146, 149-50 (6th Cir. 1988)          (stating that while

 individual complaints are tolled during the pendency of a class

 action there was no tolling for future class actions by putative

 class members) i Korwek v. Hunt, 827 F.2d 874, 879 (2d Cir. 1987).

 The case authorities establish that even if there were a tolling

 that could benefit an individual plaintiff based on an earlier-

 filed class action, the tolling would salvage no more than the

 plaintiff's individual claim, and could not serve as a basis for

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 untimely pursuit by the plaintiff of yet another class action on
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 behalf of putative class members.

       For the reasons given above, the court concludes that any

 right plaintiff otherwise had to bring the instant action was

 extinguished by his failure to bring the action within a period

 of two years reckoned from the date on which defendant's carriage

 of plaintiff stopped.      That conclusion prevails even if plaintiff

 is given the benefit of tolling during the period of time when

 Harper was a viable putative class action.            If, as plaintiff

 seems to contend, the Convention's repose provision could be

 overcome by equitable considerations, there is no such equitable

 factor in this case.

 C.    The Other Grounds of Defendant's Motion

       Having decided that plaintiff did not bring this action

 timely, the court finds unnecessary to discuss the remaining

 grounds of defendant's motion.        However, the court's silence as

 to those grounds is not to be taken as any indication that the

 court questions the merit of them.

       Apparently the informal request made by plaintiff in his

 response for permission to file an amended complaint is related

 to the grounds of defendant's motion that the court is not

 deciding.    The request to amend appears to have been added at the

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 end of the response as an afterthought.
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                                                      While the local rules of

 this court authorize a document to contain more than one motion,

 "[a]ny such document must clearly identify each included

 motion          in its title."      Rule LR 5.1(c) of the Local Civil

 Rules of the United States Dist. Ct. for the N.D. of Tex.

 Therefore, the informal request cannot be treated as a motion.

 Moreover, even if the court were to treat the request as a motion

 for leave to amend, it nevertheless would be ineffective because

 of noncompliance with Rule LR 15.1(a) of the Local Civil Rules,

 which requires any motion for leave to amend to be accompanied by

 the proposed amended complaint.

         Rule 15(a) (2) of the Federal Rules of Civil Procedure states

 that a court "should freely give leave [to amend] when justice so

 requires."     Fed. R. Civ. P. 15(a) (2).       The court concludes that

  justice does not require allowing plaintiff to replead in this

 case.     See,~,      Klein v. Gen. Nutrition Co., Inc., 186 F.3d,

 338, 346 (3d Cir. 1999)      (taking into account in the denial of

 leave to amend the lapse of time without a request to amend and

  that, instead of seeking leave to file an amended complaint, the

 plaintiffs chose to respond to the motion to dismiss); Zucker v.

 Quasha, 891 F. Supp. 1010, 1019 (D.N.J. 1995)              (including as

  reasons for denying a request to amend that the request was not

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 properly before the court by way of a notice of motion and that
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 plaintiff had not submitted a copy of the proposed amended

 complaint in accordance with a local rule).            The court cannot

 think of anything worthwhile that would be gained by giving

 plaintiff an opportunity to file an amended complaint, and

 declines to do so.

                                      IV.

                                     Order

       Consistent with the foregoing,

       The court ORDERS that plaintiff's complaint be, and is

 hereby, dismissed.

       SIGNED   January~, 2010.




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